                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF OREGON
PETER C. McKITTRICK                 1001 S.W. FIFTH AVENUE,# 700              M. CAROLINE CANTRELL
   BANKRUPTCY JUDGE                   PORTLAND, OREGON 97204                         LAW CLERK
                                            (503) 326-1536                    BETHANY COLEMAN-FIRE
                                                                                    LAW CLERK

                                                                                 TONIA McCOMBS
                                                                                     LAW CLERK
                                     November 29, 2018

   Christopher N. Coyle
   Vanden Bos & Chapman, LLP
   319 S.W. Washington, Suite 520
   Portland, OR 97204
   Troy G. Sexton
   Intelekia Law Group, LLC
   920 S.W. 6 th Ave., Suite 1200
   Portland, OR 97204


           Re:        Objection to Claim 13 of Intelekia Law Group, LLC
                      Settlement Conference Case No. 16-33831-tmbl3

   Dear Mr. Coyle and Mr. Sexton:

         At the parties' request, I have scheduled a half-day settlement
   conference for Wednesday, December 19, 2018, at 9:00 a.m. in the
   Judges' Conference Room, 8th Floor, United States Bankruptcy Court,
   1001 SW Fifth Ave. Ste. 700, Portland, Oregon.

         You must bring your client or someone with settlement authority
   to the conference or someone with settlement authority must be
   available by telephone.   No later than the close of business on
   December 12, 2018, I would appreciate receiving a brief confidential
   letter or email describing the status of the negotiations and your
   client's thoughts on ways to consensually resolve the dispute.
   Because the communication is confidential, it need not be shared with
   the other side.

         If you submit your documents in writing, please deliver them
   to the Clerk's Office, U.S. Bankruptcy Court, 1001 SW Fifth Avenue,
   Suite 700, Portland, Oregon 97204 in a sealed envelope,
   marked "confidential," and addressed to me.   Alternatively, you
   may send an email to me at peter_mckittrick@orb.uscourts.gov.

                                              Very truly yours,
                                                                   ------
                                              Peter C. McKittrick
                                              Bankruptcy Judge
   cc:     Hon. Trish M. Brown




                         Case 16-33831-tmb7     Doc 149      Filed 11/29/18
